          Case 09-51889-tnw                     Doc 53          Filed 04/23/12 Entered 04/23/12 13:26:47     Desc Main
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                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF KENTUCKY
                                           LEXINGTON DIVISION


IN RE:    TERRY MCINTOSH
          TRINA LAVELLE MCINTOSH                                                             Case Number:   09-51889
          Debtors

                                                      ORDER OF DISMISSAL



                A Probation Order was entered in the above referenced case stating that if the Debtors

     violated the terms of said order, the case would be dismissed without further hearing.

                It appearing to the court that the Debtors Have failed to send in such plan payments as to

     keep their case current, the case should be and hereby is DISMISSED.




     Copies to:
     TERRY MCINTOSH
     TRINA LAVELLE MCINTOSH
     150 OLD HOPEWELL ROAD SOU
     BEATTYVILLE, KY 41311

     SANFORD, KATHERINE S
     APPALACHIAN RESEARCH & DEFENSE
     P O BOX 567
     RICHMOND , KY 40476-0567

     Pursuant to Local Rule 9022-1(c), Beverly M. Burden shall cause a
     copy of this order to be served on each of the parties designated to
     receive this order pursuant to Local Rule 9022-1(a) and shall file with
     the Court a certificate of service of the order upon such parties within
     fourteen (14) days hereof.




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    The affixing of this Court's electronic seal below is proof this document
    has been signed by the Judge and electronically entered by the Clerk in the
    official record of this case.

                                                                                Signed By:
                                                                                Tracey N. Wise
                                                                                Bankruptcy Judge
                                                                                Dated: Monday, April 23, 2012
                                                                                (jms)
